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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                            DUBLIN DIVISION

TERESA POPE HOOKS, individually              )
and ESTATE OF DAVID HOOKS,                   )
by Teresa Pope Hooks, Administratrix         )
                                             )
             Plaintiffs,                     )      CIVIL ACTION FILE NO.:
                                             )      3:16-CV-00023-DHB-BKE
v.                                           )
                                             )
CHRISTOPHER BREWER,                          )
In his individual capacity                   )
                                             )
             Defendant.                      )
                           MOTION FOR LEAVE OF ABSENCE

      COMES NOW KELLY L. CHRISTOPHER, and requests the Court grant her

a leave of absence from this Court for the following periods: February 14 – 22, 2022

and April 8 – 11, 2022.

      Counsel shows to the Court that during the periods of time set forth, she will

be out of the State for family vacations. No proceedings are set in this action which

require her appearance during these periods of time.

      WHEREFORE, Kelly L. Christopher respectfully requests her Motion for

Leave of Absence be granted and that no proceedings be scheduled or held in the

above-styled matter during the periods set forth above.


      Respectfully submitted this 3rd day of November, 2021.
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                                  BUCKLEY CHRISTOPHER, P.C.

                                  /s/ Kelly L. Christopher
                                  __________________________
                                  KELLY L. CHRISTOPHER
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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 3, 2021, I served all counsel of record with

MOTION FOR LEAVE OF ABSENCE by filing electronically through the Pacer

CM/ECF System which will automatically send notification of such filing to the

following attorneys of record:

                             Mitchell M. Shook, Esq.
                                 P. O. Drawer P
                                470 Randolph Dr.
                             Vidalia, GA 30474-8929

                               Brian Spears, Esq.
                            1126 Ponce de Leon Ave.
                               Atlanta, GA 30306

      Respectfully submitted,

                                      BUCKLEY CHRISTOPHER, P.C.

                                      /s/ Kelly L. Christopher
                                      __________________________
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